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                GARDEN CITY EMPLOYEES' RETIREMENT SYSTEM, Individually and on
               Behalf of All Others Similarly Situated, Plaintiffs, v. PSYCHIATRIC SOLUTIONS,
                                             INC., et al., Defendants.

                                      CASE NOS. 3:09-cv-00882and3:09-01211

                   UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
                                TENNESSEE, NASHVILLE DIVISION

                                             2010 U.S. Dist. LEXIS 42915


                                               April 30, 2010, Decided
                                                April 30, 2010, Filed

SUBSEQUENT HISTORY: Motion denied by Garden                    J. Dyer, III, LEAD ATTORNEYS, Dyer & Berens LLP,
City Employees'. Ret. Sys. v. Psychiatric Solutions, Inc.,     Denver, CO; Wade Bonham Cowan, Nashville, TN.
2011 U.S. Dist. LEXIS 35661 (M.D. Tenn., Mar. 31,
2011)                                                          For Policemen's Annuity and Benefit Fund of Chicago,
                                                               Movant: Daniel E. Bacine, LEAD ATTORNEY, PRO
COUNSEL: [*1] For Garden City Employees'                       HAC VICE, Barrack, Rodos & Bacine, Philadelphia, PA;
Retirement System, Plaintiff: Julie A. Kearns, LEAD            Gregg S. Levin, [*2] LEAD ATTORNEY, PRO HAC
ATTORNEY, PRO HAC VICE, Catherine J.                           VICE, Motley Rice LLC, Mount Pleasant, SC; James
Kowalewski, Darren J. Robbins, David C. Walton, LEAD           Gerard Stranch, III, James Gerard Stranch, IV, Jane
ATTORNEYS, Robbins Geller Rudman & Dowd LLP,                   Branstetter Stranch, LEAD ATTORNEYS, Branstetter,
San Diego, CA; Douglas S. Johnston, Jr., Gerald E.             Stranch & Jennings, Nashville, TN; Samuel M. Ward,
Martin, Timothy L. Miles, LEAD ATTORNEYS, George               Stephen R. Basser, LEAD ATTORNEYS, PRO HAC
Edward Barrett, Barrett, Johnston & Parsley, Nashville,        VICE, Barrack, Rodos & Bacine, San Diego, CA.
TN; Michael J. Vanoverbeke, Thomas C. Michaud,
LEAD ATTORNEYS, Vanoverbeke, Michaud &                         For KBC Asset Management NV, Movant: James M.
Timmony, P.C., Detroit, MI.                                    Hughes, William S. Norton, LEAD ATTORNEYS, PRO
                                                               HAC VICE, Motley Rice LLC, Mount Pleasant, SC;
For Psychiatric Solutions, Inc., Jack E. Polson, Brent         James Gerard Stranch, III, James Gerard Stranch, IV,
Turner, Joey A. Jacobs, Defendants: Jessica Perry Corley,      Jane Branstetter Stranch, LEAD ATTORNEYS,
Lisa R. Bugni, Todd Richard David, LEAD                        Branstetter, Stranch & Jennings, Nashville, TN; William
ATTORNEYS, PRO HAC VICE, Alston & Bird LLP,                    H. Narwold, LEAD ATTORNEY, Motley Rice LLC,
Atlanta, GA; Michael T. Harmon, W. Travis Parham,              Hartford, CT.
LEAD ATTORNEYS, Waller, Lansden, Dortch & Davis,
LLP, Nashville, TN; Waverly David Crenshaw, Jr.,               For Central States, Southeast and Southwest Areas
LEAD ATTORNEY, Waller, Lansden, Dortch & Davis,                Pension Fund, Movant: Darren J. Robbins, Tor Gronborg,
Nashville, TN.                                                 Tricia L. McCormick, LEAD ATTORNEYS, Robbins
                                                               Geller Rudman & Dowd LLP, San Diego, CA; George
For Joe Middendorf, Movant: Jeffrey A. Berens, Robert          Edward Barrett, Barrett, Johnston & Parsley, Nashville,




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TN.                                                             Entry No. 29) 2 ; (2) Psychiatric Solutions Institutional
                                                                Investor Group's 3 motion for appointment as lead
For Psychiatric Solutions Institutional Investors Group,        Plaintiff and approval of its selection of class counsel
Movant: Daniel E. Bacine, LEAD ATTORNEY, PRO                    (Docket Entry No. 32); and (3) Central States, Southeast
HAC VICE, Mark R. Rosen, LEAD ATTORNEY,                         and Southwest Areas Pension Fund's ("Central States")
Barrack, Rodos & Bacine, Philadelphia, PA; Gregg S.             motion for appointment as lead Plaintiff and approval of
Levin, James M. Hughes, William S. Norton, LEAD                 its selection of class counsel (Docket Entry No. 40).
ATTORNEYS, PRO HAC VICE, Motley Rice LLC,
[*3] Mount Pleasant, SC; James Gerard Stranch, III,                    1 The pending motions are by class members
James Gerard Stranch, IV, Jane Branstetter Stranch,                    who have the statutory right to move for
LEAD ATTORNEYS, Branstetter, Stranch & Jennings,                       appointment as lead plaintiff. 15 U.S.C. §
Nashville, TN; Samuel M. Ward, Stephen R. Basser,                      78u-4(a)(3)(A)(i).
LEAD ATTORNEYS, PRO HAC VICE, Barrack, Rodos                           2 On December 7, 2009, Joe Middendorf filed a
& Bacine, San Diego, CA; William H. Narwold, LEAD                      response (Docket Entry No. 57) to the other lead
ATTORNEY, Motley Rice LLC, Hartford, CT; W.                            plaintiff motions, conceding that based on the
Travis Parham, Waller Lansden Dortch & Davis, LLP,                     losses submitted by the parties in the opening
Nashville, TN.                                                         papers, he did [*5] not have the largest financial
                                                                       interest in this case. Middendorf also stated that
JUDGES: William J. Haynes, Jr., United States District                 he was not filing an opposition to the other lead
Judge.                                                                 plaintiff motions.
                                                                       3     Psychiatric Solutions Institutional Investor
OPINION BY: William J. Haynes, Jr.                                     Group (the "Group") is comprised of institutional
                                                                       investors Policemen's Annuity Benefit Fund of
OPINION                                                                Chicago (the "Policemen's Fund") and KBC Asset
                                                                       Management NV ("KBC").

MEMORANDUM                                                           In support of their respective motions, each moving
                                                                party cites its losses caused by the Defendants' alleged
     Plaintiff, Garden City Employees' Retirement               acts and the experience of their selected counsel. Central
System, on behalf of itself and all other persons similarly     States expended in excess of over $ 6 million for its
situated, and Plaintiff James Pedric in related action No.      shares of the Company and alleges a loss of $ 2,493,501.
3:09-01211, filed these actions that are consolidated           The Group expended $ 4,722,681 for its shares and
herein asserting claims under the Securities Exchange           alleges a loss of $ 2,159,313. Joe Middendorf asserts a
Act of 1934, 15 U.S.C. § 78t(a) and Rule 10b-5, 17              loss of $ 60,128.
C.F.R. § 240.10b-5, against the Defendants: Psychiatric
Solutions, Inc. (the "Company"), Joey A. Jacobs, Brent               This action arises under the Private Securities
Turner, Jack E. Polson, Terrance Bridges, Ronald                Litigation Reform Act of 1995 (PSLRA), Pub. L. No.
Morgan Fincher, Mark P. Clein, David M. Dill, Richard           104-67, that amended the Securities Act of 1933, 15
D. Gore, Christopher Grant, Jr., William M. Petrie, and         U.S.C. § 77a-77bbb, and the Securities Exchange Act of
Edward K. Wissing. In sum, Plaintiffs' claims are that the      1934, 15 U.S.C. § 78a-78lll. 15 U.S.C. § 77z-1(a)(1).
Defendants allegedly issued materially false and                Among the PSLRA's threshold requirements is notice to
misleading statements [*4] concerning their Company's           potential class members upon the filing of the first class
safeguards and controls over its operations, including at       action. 15 U.S.C. § 78u-4. Under these provisions, the
its Riveredge Hospital ("Riveredge") facility. Plaintiffs       named Plaintiff [*6] in the first filed action must publish
allege that based upon their positions at the Company, the      notice within twenty (20) days of filing the action to
individual Defendants were aware of and participated in         inform potential class members of their right to move to
these alleged violations of the Securities Exchange Act.        be appointed lead Plaintiffs. 15 U.S.C.A. §
                                                                78u-4(a)(3)(A)(i). The published notice should instruct
    Before the Court are three motions: 1 (1) Joe               potential class members "that, no later than 60 days after
Middendorf's motion for appointment as lead Plaintiff           the date on which the notice is published, any member of
and approval of his selection of class counsel (Docket




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the purported class may move the court to serve as led            members." 15 U.S.C. § 78u-4(a)(3)(B)(i). In addition,
plaintiff of the purported class." 15 U.S.C.A. §                  "[t]he most adequate plaintiff shall, subject to the
78u-4(a)(3)(A)(i)(II) (emphasis added). Such notice must          approval of the court, select and retain counsel to
be published "in a widely circulated national                     represent the class." 15 U.S.C. § 77z-1(a)(3)(B)(v).
business-oriented publication or wire service." 15
U.S.C.A. § 78u-4(a)(3)(A)(i). "If more that one action on              Under the PSLRA, with the filings of the complaints
behalf of a class asserting substantially the same claim or       and motions, the Court must presume that the lead
claims arising under the chapter is filed, only the plaintiff     plaintiff with the "largest financial interest in the
or plaintiffs in the first filed action shall be required to      litigation" and whose claims are typical of other putative
cause notice to be published in accordance with clause            class members is the most adequate plaintiff. 15 U.S.C. §
(i)." 15 U.S.C.A. § 78u-4(a)(3)(A)(ii) (emphasis added).          78u-4(a)(3)(B)(iii)(I). The lead plaintiff must also be
Here, it is undisputed that the Plaintiff in this action          capable of "fairly and adequately" protect[ing] the
provided the requisite notice by publications in national         interest of the class. Fed. R. Civ. P. 23(a)(3)-(4); 15
news media.                                                       U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc); 15 U.S.C. §
                                                                  77z-1(a)(3)(B)(iii)(I)(bb). A statutory presumption arises
     Once adequate notice is given, the PSLRA describes           that the plaintiff with the "largest financial interest" also
a two-step process: consolidation of the various [*7]             satisfies the typicality element. In re Cardinal Health,
actions and appointment of the lead plaintiff.                    Inc. Securities Litigation, 226 F.R.D. 298, 301 (S.D. Ohio
                                                                  2005). [*9] This presumption can be rebutted "only upon
           If more than one action on behalf of a                 proof . . . that the presumptively most adequate plaintiff .
       class asserting substantially the same                     . . will not fairly and adequately protect the interest of the
       claim or claims arising under this chapter .               class; or is subject to unique defenses that render such
       . . has been filed, and any party has sought               plaintiff incapable of adequately representing the class. In
       to consolidate those actions for pretrial                  re Cendant Corp., 182 F.R.D. 144, 149 (D.N.J. 1998)
       purposes or for trial, the court shall not                 (quoting 15 U.S.C. §§ 77z-1(a)(3)(B)(iii)(II)(aa), (bb)).
       make the [lead-plaintiff] determination . . .              There is not any showing here to rebut this statutory
       until after the decision on the motion to                  presumption. Thus, the controlling issue is which movant
       consolidate is rendered.                                   has the "largest financial interest."

15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). Currently, a motion to             The PSLRA "provides no definitive method for
consolidate cases is pending in a related shareholder             determining the 'largest financial interest.'" In re Cardinal
derivative action, James Pedric v. Joey A. Jacobs, et al.,        Health, 226 F.R.D. at 302. "[T]he method used and the
Case No. 3:09-01211. (Docket Entry No. 33). That case             factors considered in determining each movant's financial
was previously transferred from the Honorable Thomas              interest remain fully within the discretion of the district
Wiseman to this Court as a related shareholder derivative         court." Pirelli Armstrong Tire Corp. Retiree Med Benefits
action (Docket Entry No. 37). Upon review of that action,         Trust v. LaBranche & Co., 229 F.R.D. 395, 406-407
the motion to consolidate should be granted, and Case             (S.D.N.Y. 2004).
No. 3:09-01211 should be consolidated with this action
                                                                       In determining which movant has the largest
for appointment of a lead plaintiff, and the pending
                                                                  financial interest, most courts conduct a four-factor
motion to dismiss in that action (Docket Entry No. 34)
                                                                  analysis consisting of: "(1) the number of shares that the
will be addressed after the lead plaintiff is appointed and
                                                                  movant purchased during the putative class period; (2)
has filed a response. No motion for appointment as a lead
                                                                  the number of net shares purchased during [*10] the
plaintiff has been filed in the related Case No.
                                                                  class period; (3) the total net funds expended by the
3:09-01211. [*8] Thus, the choice here is between
                                                                  plaintiff during the class period; and (4) the approximate
Central States and the Group.
                                                                  losses suffered by the plaintiffs." Manual for Complex
     Under the PLSRA, the Court "shall appoint as lead            Litigation (Fourth) § 13.31 (2004); In re Cardinal
plaintiff the member or members of the purported                  Health, 226 F.R.D. at 303. Applying these factors as
plaintiff class that the court determines to be most              pertinent to the facts presented on these motions,
capable of adequately representing the interest of class          considering the number of shares of the Company's stock




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purchased, the amounts expended for those stock                     determine this issue. Johnson v. Dana Corp., 236 F.R.D.
purchases, and the alleged losses, Central States has the           349, 351-52 (N.D. Ohio 2006).
"largest financial interest."
                                                                         Here, given Central States's losses, its assets, and the
     As to the Group's various arguments, the PSLRA's               limited number of Plaintiffs seeking lead plaintiff status,
legislative history reflects a Congressional intention to           the Court does not ascertain any practical need for an
favor institutional investors that have the greater financial       alternate method for determining the largest financial
resources and experience to satisfy their fiduciary duties          interest nor for the appointment of co-lead plaintiffs. If,
to the class members. See e.g., In re Critical Path, Inc.           later in this litigation, good cause is shown to revisit this
Sec. Litig., 156 F. Supp. 2d 1102, 1109 (N.D. Cal. 2001)            issue, any plaintiff may move the Court for
(emphasizing "the PSLRA's goal of increasing the                    reconsideration of its appointment of the lead plaintiff.
appointment of institutional investors and lead
plaintiffs"). In addition, "[t]he manifest intent of the                 To be sure, the Group contends that the "largest
(PSLRA) is determining the Plaintiff most capable of                financial interest" determination for the lead Plaintiff
pursuing the action and representing the interests of the           should focus on the "last-in, first-out" (LIFO) method of
class." H. Conf. Rep. No. 104-369, at 34. This standard             loss calculation [*13] during the class period. The Group
has been described [*11] as "let the money do the                   argues that this method is more widely used by various
monitoring." Elliott J. Weiss & John S. Beckman, Let the            courts, but the Court notes that this method was not
Money do the Monitoring: How Institutional Investors                argued by the Group until its response to Central States's
Can Reduce Agency Costs in Securities Class Action,                 motion for appointment as lead plaintiff. Other Courts
104 Yale L.J. 2053 (1995). See S. Rep. 104-98, 1995                 have rejected this method of calculating plaintiffs' losses
U.S.C.C.A.N. 679, 729 n. 32 (stating that "[t]his article           to further the appointment of the group and its counsel.
provided the basis for the 'most adequate plaintiff                 See In re Cendant Corp. Litig., 264 F.3d 201, 266-67 (3d
provision' in the PSLRA). Central States meets this                 Cir. 2001); In re XM Satellite Radio Holdings Sec. Litig.,
standard with regard to the amount of its loss. Moreover,           237 F.R.D. 13, 18 (D.D.C. 2006).
Central States's assets reflect its financial ability to
                                                                         The next issue is the Court's approval of the lead
commit the resources to pursue the interests of the
                                                                    Plaintiff's choice of counsel who will be lead counsel for
putative class in this litigation.
                                                                    the litigation. 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). "[T]he
     To be sure, the plaintiff with the larger numeric loss         role of class counsel is akin to that of a fiduciary to the
is not automatically the plaintiff with the "largest                absent class members." Greenfield v. Villager Indus.,
financial interest." See In re Doral Fin. Corp. Sec. Litig.,        Inc., 483 F.2d 824, 832 (3d Cir. 1973). "[C]lass action
414 F. Supp. 2d 398, 403 (S.D.N.Y. 2006) (movant with $             counsel possess, in a very real sense, fiduciary
2.3 million in alleged losses and another movant with $             obligations to those not before this court." Id. Here,
1.9 million in alleged losses deemed to have functionally           Central States's counsel is well qualified and experienced
equal damages given the "probable margins of error                  to represent the class in this action and the Court
involved in the various damage estimates."); In re Pfizer,          approves Central States's choice of counsel.
Inc. Sec. Litig., 233 F.R.D. 334, 338 (S.D.N.Y. 2005) (a
                                                                         Accordingly, Joe Middendorf's motion for
movant with $ 22.5 million in alleged losses and another
                                                                    appointment as lead Plaintiff and approval [*14] of his
$ 22.8 million in alleged losses have [*12] roughly equal
                                                                    selection of class counsel (Docket Entry No. 29) should
damages ". . . [g]iven the probable margin of error
                                                                    be denied; the Group's motion for appointment as lead
involved in the damage estimates. . .").
                                                                    Plaintiff and approval of its selection of class counsel
     Moreover, some courts measure the "largest financial           (Docket Entry No. 32) should be denied; and Central
interest" by a plaintiff's losses as a percentage of its assets     States's motion for appointment as lead Plaintiff and
or holdings. See Burke v. Ruttenberg, 102 F. Supp. 2d               approval of its selection of class counsel (Docket Entry
1280, 1297, 1342 (N.D. Ala. 2000); Laborers Local 1298              No. 40) should be granted. Given the Court's disposition
Pension Fund v. Campbell Soup Co., No. 00-152 (JEI),                of the above motions, Defendants' motion for a hearing
2000 U.S. Dist. LEXIS 5481 at *5-6 (D.N.J. April 24,                (Docket Entry No. 79) should be denied as moot. The
2000). Other courts utilize accounting standards to                 parties shall submit a proposed case management order
                                                                    within 10 days of entry of the accompanying Order.




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An appropriate Order is filed herewith.                         William J. Haynes, Jr.

    ENTERED this the 30th day of April, 2010.                   United States District Judge

    /s/ William J. Haynes, Jr.




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